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                   IN THE DISTRICT COURT OF THE VIRGIN ISLANDS
                        DIVISION OF ST. THOMAS AND ST. JOHN

UNITED STATES OF AMERICA,                      )
                                               )
                     Plaintiff,                )
                                               )
                     v.                        )      Case No. 3:21-cr-0005
                                               )
SOMALIE BRUCE and JEANORAH                     )
WILLIAMS,                                      )
                                               )
                     Defendants.               )
                                               )

                                           ORDER

       BEFORE THE COURT is the trial in this matter currently scheduled for November 1,
2021. For the reasons stated herein, the time to try this case is extended up to and including
May 9, 2022.
       In response to the current conditions in the COVID-19 pandemic, the undersigned, as
Chief Judge of the District Court of the Virgin Islands, issued a general order concerning
operations of the Court on September 30, 2021, suspending all jury trials through October
31, 2021. 1 The Court hereby fully incorporates the findings from the Court’s Twenty-Seventh
Operations Order as fully stated herein.
       To date, the COVID-19 virus has claimed more than 741,000 lives in the United States
(81 of which have been in the U.S. Virgin Islands). COVID-19 continues to present an
unpredictable threat to public health and safety, as shown in the recent surge in COVID-19
cases both in the continental United States and the Virgin Islands. As a multi-defendant case,
this case presents significant challenges for the Court to comply with social distancing
guidelines during the jury trial. Practical considerations would require additional spacing for
Defendants, counsel, and jurors—and the potential for additional jurors in the courtroom.
As such, the Court finds that extending the period within which Defendants may be tried
under the Speedy Trial Act is necessary for the protection and well-being of the Defendants,

1https://www.vid.uscourts.gov/sites/vid/files/general-ordes/Twenty-
Seventh%20Order%20Concerning%20Court%20Operations%20During%20COVID%20Outbreak.pdf
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the jury, the prosecutors, the witnesses, the Court’s personnel, and the general public at
large. 2
           The premises considered, it is hereby
           ORDERED that the time beginning from the date of this order granting an extension
through May 9, 2022 SHALL be excluded in computing the time within which the trial in this
matter must be initiated pursuant to 18 U.S.C. § 3161; it is further
           ORDERED that the parties SHALL file and serve a pre-trial brief no later May 2, 2022,
which shall include the following: (a) proposed list of witnesses; (b) proposed list of exhibits;
(c) estimated length of case-in-chief and case-in-defense; (d) proposed non-standard voir
dire questions; and (e) proposed non-standard jury instructions related to the elements of
the charges and defenses; it is further
           ORDERED that the parties SHALL provide the Clerk of Court with a USB Flash Drive
containing electronic versions of exhibits no later than May 4, 2022; 3 and it is further
           ORDERED that the jury selection and trial in this matter SHALL commence promptly
at 9:00 on May 9, 2022, in St. Thomas Courtroom 1.


Dated: October 29, 2021                                      /s/Robert A. Molloy
                                                             ROBERT A. MOLLOY
                                                             Chief Judge




2 The Speedy Trial Act also excludes “[a]ny period of delay resulting from other proceedings concerning the

defendant, including . . . (D) delay resulting from any pretrial motion, from the filing of the motion through the
conclusion of the hearing on, or other prompt disposition of, such motion. . . .” 18 U.S.C. § 3161(h)(1). In this
matter, there are numerous pending motions docketed at ECF Nos. 40, 42, 43, 45, 74, 78, and 91. Additionally,
during the October 29, 2021 Status Conference, counsel for Defendant Somalie Bruce indicated that that he has
been unable to meet with Bruce in person due to restrictions caused by COVID-19 pandemic. Bruce is currently
detained in the Metropolitan Detention Center in Guaynabo, Puerto Rico.
3 Counsel are advised to consult with Court technical staff to determine the proper format for saving electronic

versions of exhibits. The Government’s trial exhibits shall be labelled sequentially beginning with
Government’s Exhibit 1. Defense exhibits shall be labelled sequentially beginning with Defense Exhibit A.
